                  IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


WARNER VALLEY FARM, LLC,
                          Plaintiff,
             v.                                     Case No. 4:21-CV-01079
                                                    (Chief Judge Brann)
SWN PRODUCTION COMPANY, LLC,
                          Defendant.


        MARCELLUS SHALE COALITION’S MOTION FOR LEAVE TO
                   FILE A BRIEF AS AMICUS CURIAE
        ___________________________________________________________



      The Marcellus Shale Coalition (“MSC”) moves this Court for permission to

file a brief as amicus curiae with respect to the issues now before the Court

concerning the constitutionality of Act 85 of 2019 and in support thereof says:

      1.     The MSC is a regional trade association that represents the interest of

companies engaged in the exploration for and production, processing, and

transportation of natural gas. MSC members produce gas primarily form

“unconventional” shale formations. MSC members produce approximately 95% of

the natural gas produced from unconventional formations in Pennsylvania.
      2.     The MSC often advocates in the General Assembly and before

administrative agencies for changes in laws and regulations relating to oil and gas

operations necessary to reflect changing technology in the industry and in

particular the technology relating to horizontal drilling. The MSC periodically

participates as amicus curiae in matters pending in the courts of the United States

or Commonwealth of Pennsylvania.

      3.     This action involves a dispute over pooling and unitization rights and

royalty obligations under an April 12, 2006 oil and gas lease. Warner Valley Farm

initiated this action against SWN Production Company to construe the 2006 Lease

and obtain a declaration regarding the constitutionality of Pennsylvania Act 85 of

2019, which provides statutory authority for oil and gas operators to drill and

produce from wells that traverse more than one production unit, often referred to as

cross-unit drilling.

      4.     The Plaintiffs’ complaint, in Count III, challenges the constitutionality

of the Act of Nov. 7, 2019 (P. L. 634, No. 85) codified at 58 P.S. § 34.2,

(hereinafter Act 85). Plaintiffs assert that Act 85 creates an impairment of contract

in violation of the United States and Pennsylvania constitutions. (ECF 1,

Attachment 1)




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      5.     By Order dated May 19, 2022, the Court authorized the parties to file

dispositive motions regarding the legal issues set forth in Count III of the

Complaint. (ECF 17).

      6.     The MSC seeks permission to file an amicus brief limited to the legal

issues set forth in Count III regarding the constitutionality of Act 85.

      7.      The MSC and its members were actively involved in the discussions

that lead to the enactment of Act 85. MSC members brought to the attention of

legislators the advantages that cross-unit drilling brings to the community and the

environment by reducing the number of pads, access roads and pipelines required

for efficient recovery of the resource thus reducing the overall amount of surface

disturbance and traffic.

      8.     MSC members, when advocating for Act 85, worked with legislators

to craft Act 85 in a form that was designed to avoid the impairment of contracts.

      9.     MSC members use a variety of lease forms with varying language

regarding royalty payments, unitization, pooling among other terms, often differing

from the terms of the lease at issue here. Accordingly, the constitutionality of Act

85 as it may be applied to varying lease terms is of importance to the entire

industry.

      10.    MSC members have relied upon the provisions of Act 85 in the more

than two years since its passage, having drilled hundreds of cross-unit wells and


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paid royalties for production from those wells to landowners in units crossed by

cross-unit wells.

      11.    The MSC, on behalf of its members, has a special interest in this case

as the Court’s decision will have broad ramifications throughout the industry,

affecting many entities not in a position to participate in this matter, including

landowners in units crossed by cross-unit wells.

      12.    Although amicus parties are less common in the district courts the

current posture of this case, being limited to the legal issues relating to the

constitutionality of Act 85, is akin to an appellate proceeding in which amicus

briefs are more common and more readily accepted.

      13.    This Court has noted that a decision to allow amicus participation in

the District Court is within the broad discretion of the court, and that it may be

granted if “timely and helpful.” Waste Mgmt, Inc. v. City of York, 162 F.R.D. 34,

36, 1995 U.S. Dist. LEXIS 13729**4 (M.D. Pa. 1995).

      14.    The MSC’s brief, if accepted, will be timely as it will be filed on or

before the date as the briefs of the parties. It may also be useful by addressing the

background leading to the enactment of Act 85 and advancing an interpretation of

Act 85 that can be applied broadly reflecting the variation in lease forms used

throughout the industry.




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             WHEREFORE, the Marcellus Shale Coalition requests this Court

      enter an order granting permission to fill a brief as amicus curiae and accept

      the brief attached hereto as Exhibit A1 for filing as the brief of the MSC.


                                       MARCELLUS SHALE COALITION

                                       /s Terry R. Bossert
                                       Terry R. Bossert (PA 17670)
                                       General Counsel
                                       300 North Second St, Suite 1102
                                       Harrisburg, PA 17101
                                       Counsel for Amicus Curiae MSC




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  The brief is included with this motion consistent with Fed. R. App. P. 29 since
there is no Fed. R. Civ. P. addressing the issue.
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                           L.R. 7.1 CERTIFICATION

I, Terry R. Bossert, counsel for the Marcellus Shale Coalition certify under L.R. 7.1

that I requested concurrence in the foregoing Motion for Leave to File a Brief from

counsel of record for all parties by e-mails dated July 18, 2022. Defendant SWN

Production Company, LLC, consents to the requested relief. Plaintiff Warner Valley

Farm, LLC, did not concur.




                                       MARCELLUS SHALE COALITION

                                       /s Terry R. Bossert
                                       Terry R. Bossert (PA 17670)
                                       General Counsel
                                       300 North Second St, Suite 1102
                                       Harrisburg, PA 17101
                                       Counsel for Amicus Curiae MSC
                   CERTIFICATE OF SERVICE
I certify that, on August 8, 2022, I filed the attached document with the

Court’s CM/ECF system such that the following should receive service

automatically:

Robert J. Burnett, Esq.                David R. Fine
Brendan A. O’Donnell, Esq.             Market Square Plaza
Houston Harbaugh, P.C.                 17 North Second Street, 18th Floor
401 Liberty Avenue                     Harrisburg, PA 17101(717) 231-
Three Gateway Center, 22nd Floor       4500 david.fine@klgates.co
Pittsburgh, PA 15222




                                /s/ Terry R. Bossert
EXHIBIT A
